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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             SHERMAN DIVISION


  CORNERSTONE CREDIT UNION
  LEAGUE and CONSUMER DATA
  INDUSTRY ASSOCIATION

                     Plaintiffs,
                                                         No. 4:25-cv-00016-SDJ
               v.

  CONSUMER FINANCIAL PROTECTION
  BUREAU and RUSSELL VOUGHT in his
  official capacity as Acting Director of the
  CFPB

                     Defendants.



                                       ORDER

       Before this Court is Defendant-Intervenors’ Unopposed Motion for Leave to

 File Consolidated Twenty-Five Page Brief. (Dkt. #37.) After full consideration, the

 motion is GRANTED.

       It is therefore ORDERED that the Defendant-Intervenors’ Opposition to Joint

 Motion to Approve Consent Judgment and Plaintiffs’ Motion for Preliminary

 Injunction (Dkt. #38) is deemed properly filed.


       So ORDERED and signed this ___ day of _________, 2025.



                                                ____________________________________
                                                SEAN D. JORDAN
                                                UNITED STATES DISTRICT JUDGE
